                                    Exhibit 6A
                    June 30, 2014 G. Bowen Deposition Transcript




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                 GLENN BOWEN                                  1                  GLENN BOWEN
           IN THE UNITED STATES BANKRUPTCY COURT              2   JENNIFER K. GREEN, ESQ.,
            FOR THE EASTERN DISTRICT OF MICHIGAN              3   RONALD A. KING, ESQ. (Lansing office)
                                                              4   Clark Hill, PLC
                                                              5   500 Woodward venue
     In re            ) Chapter 9                             6   Suite 3500
     CITY OF DETROIT, MICHIGAN,        ) Case No. 13-53846    7   Detroit, Michigan 48226
              Debtor.   ) Hon. Steven W. Rhodes               8      Appearing on behalf of the Retirement Systems for the
                                                              9      City of Detroit.
     __________________________________                      10
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       The Video Deposition of GLENN BOWEN, VOLUME I,        13
       Taken at 1114 Washington Boulevard,                   14   RICHARD U. S. HOWELL, ESQ.
       Detroit, Michigan,                                    15   Kirkland & Ellis LLP
       Commencing at 9:05 a.m.,                              16   300 North LaSalle
       Monday, June 30, 2014,                                17   Chicago, Illinois 60654
       Before Rebecca L. Russo, CSR-2759, RMR, CRR.          18      Appearing on behalf of Syncora Guarantee Inc. and
                                                             19      Syncora Capital Assurance Inc.
                                                             20
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 1             GLENN BOWEN                              1                       GLENN BOWEN
 2    APPEARANCES:                                      2         MARK R. JAMES, ESQ.
 3                                                      3         Williams, Williams, Rattner & Plunkett, P.C.
 4    EVAN MILLER, ESQ.,                                4         380 North Old Woodward Avenue
 5    MIGUEL F. EATON, ESQ.                             5         Suite 300
 6    Jones Day                                         6         Birmingham, Michigan 48009
 7    51 Louisiana Avenue, N.W.                         7            Appearing on behalf of the Financial Guaranty
 8    Washington, D.C. 20001                            8            Insurance Company.
 9       Appearing on behalf of the Debtor.             9
10                                                     10
11                                                     11
12                                                     12         DAWN R. COPLEY, ESQ.
13                                                     13         Dickinson Wright, PLLC
14    CLAUDE D. MONTGOMERY, ESQ.                       14         500 Woodward Avenue
15    Dentons US LLP                                   15         Suite 4000
16    1221 Avenue of the Americas                      16         Detroit, Michigan 48226
17    New York, New York 10020-1089                    17            Appearing on behalf of the State of Michigan.
18       Appearing on behalf of the Retiree Committee. 18
19                                                     19
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 2     from Glenn Bowen and Kathy Warren to Evan Miller and 2           normal cost method in any of the work that you did at
 3     Chuck Moore, date March 6th, 2014.                     3         the direction of the city or the pension task force?
 4   BY MR. HOWELL:                                           4                 MR. MILLER: Glenn, excuse me, before you
 5   Q. Mr. Bowen, do you recognize this document?            5         respond, Rush, I think Glenn had indicated in his
 6   A. I do.                                                 6         prior testimony that there were certain communications
 7   Q. And what was the purpose of this document, to your    7         that the actuarial firms engaged in pursuant to an
 8     recollection?                                          8         order of mediation by the Court, and all discussions
 9   A. The purpose was to confirm to our client the          9         that took place during any Court-ordered mediation are
10     methodology we would be taking in doing various       10         confidential, and pursuant to the Court's mediation
11     requested models that we were preparing.              11         order are not to be the subject of discovery.
12   Q. And did that include the methodologies that would be 12                 So I would just ask the witness, in his --
13     used for the models that we just saw in the April 17, 13         developing his response to the question, to avoid
14     2014, letters?                                        14         answering in a way that would reveal discussions that
15   A. Just give me a moment, please.                       15         occurred during the Court-ordered mediation.
16   Q. Sure.                                                16                 MR. HOWELL: Fair enough.
17   A. Yes, I believe that's included in this document.     17       BY MR. HOWELL:
18   Q. In the third full paragraph under overview on the    18       Q. So, just for the record, let me make clear, you're
19     first page, you list two other actuarial firms,       19         going to follow Mr. Miller's instruction with respect
20     Gabriel Roeder Smith & Company and Segal Consulting. 20          to that, correct?
21     Do you see that?                                      21       A. Yes, I will.
22   A. Yes.                                                 22       Q. Okay. So taking that into account, I don't want you
23   Q. And you say you're happy to entertain comments and   23         to disclose anything that you're being instructed not
24     suggestions from either firm if they were proposing   24         to disclose related to a confidential mediation
25     different approaches or revisions to the approaches   25         arrangement, but just separate and apart from that, if
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 1                  GLENN BOWEN                                   1                   GLENN BOWEN
 2     stated below.                                              2     you have an independent recollection of any time where
 3            Can you recall whether Gabriel Roeder Smith         3     it was suggested to you by Segal Consulting or by
 4     provided comments or suggestions to the proposed           4     anyone else to use entry age normal -- or excuse me,
 5     approach for undertaking the modeling that you were        5     to use the unit credit cost method as opposed to the
 6     doing at this time?                                        6     entry age normal method, can you recall anything like
 7   A. I can't recall if they did so specific to this            7     that?
 8     document.                                                  8   A. It was not specifically discussed.
 9   Q. Would they provide comments from time to time in          9   Q. I'll hand you what we will mark as 10, Bowen
10     association with work that you were doing at the          10     Exhibit 10.
11     direction of the city?                                    11             MR. HOWELL: And for identification
12   A. I believe it was the direction of the Court that the     12     purposes, Bowen Exhibit 10 has the Bates range
13     actuarial firms were asked to speak to each other.        13     POA00598715 through 598718 and is a letter from Segal
14   Q. Who is Segal Consulting?                                 14     Consulting to Claude Montgomery.
15   A. They are an actuarial firm retained by the Official      15             First of all, Mr. Bowen, have you ever seen
16     Committee of Retirees.                                    16     this document before?
17   Q. Do you recall whether Segal Consulting provided any      17             MARKED FOR IDENTIFICATION:
18     comments or suggestions to your valuation of the          18             DEPOSITION EXHIBIT 10
19     accrued actuarial liability?                              19             1:39 p.m.
20   A. I think I can characterize it most simply as all firms   20   A. One moment, please. Yes.
21     had a discussion and provided input. I can't specify      21   BY MR. HOWELL:
22     whether they responded prior to this memo or              22   Q. On both the first and second page of this email from
23     subsequent to this memo.                                  23     Segal Consulting, they lay out a range of, again,
24   Q. Did anyone ever suggest to you that the unit credit      24     discount rates from 6.5 percent to 8 percent that they
25     cost method should be used as opposed to the entry age    25     used in projecting actuarial accrued liabilities. Do

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 2     you see that?                                              2   A. I do.
 3   A. I do.                                                     3   Q. So the first one is the wage inflation portion of the
 4   Q. Do you have an understanding, first of all, whether       4     salary scale is zero percent for the year ending
 5     this was a replication of work that you were doing or      5     June 30, 2014. Does that indicate to you that this is
 6     had done?                                                  6     the valuation of a frozen plan?
 7   A. This letter -- actually, I'm sorry, I remember            7   A. That line alone does not indicate that.
 8     reviewing a Segal letter, I believe, of the 2013           8   Q. On the next page, the second full bullet says: The
 9     valuation. I'm not sure if I have seen this letter         9     cost method was changed from entry age normal to the
10     before.                                                   10     unit credit cost method. Do you see that?
11   Q. Okay.                                                    11   A. I do.
12   A. But this letter is July 1, 2014, frozen plan.            12   Q. Did you ever have any discussions with Segal
13   Q. Okay. Well, you anticipated my next question, which      13     Consulting in which you discussed changing from entry
14     is, your understanding is that this letter was put        14     age normal to the unit credit cost method?
15     together when there was an anticipation of a frozen       15            MR. MILLER: And again, those discussions
16     plan, correct?                                            16     would need be outside the context of mediation.
17   A. From the labeling of the letter, it says frozen plan.    17   A. I answered the question previously. We didn't have
18   Q. Did you ever have any discussions with Segal             18     those discussions.
19     Consulting about which the -- which investment rate       19   BY MR. HOWELL:
20     would be an appropriate investment rate to use when       20   Q. Okay. So, again, respecting the instruction not to
21     performing valuations in this case?                       21     bring anything in from mediation, apart from
22            MR. MILLER: And I would again caution the          22     mediation, you can't recall any discussions whatsoever
23     witness in framing his response to avoid revealing any    23     with Segal Consulting in which -- whether to use entry
24     confidential mediation discussions.                       24     age normal or unit credit cost method was discussed?
25   A. Yes.                                                     25   A. No.
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 1                  GLENN BOWEN                                   1                  GLENN BOWEN
 2   BY MR. HOWELL:                                               2   Q. And do you have any opinion as to whether Segal
 3   Q. And you do recall those conversations? And do you         3     Consulting's decision to use unit credit cost method
 4     recall -- do you have any recollection as to what          4     instead of entry age normal cost method for this
 5     Segal Consulting suggested, if they made any               5     frozen plan analysis was appropriate?
 6     suggestion, as to what the discount rate should be for     6            MR. MUTH: Let me object here, because now
 7     use in these calculations?                                 7     I think you're asking him to provide expert testimony,
 8             MR. MONTGOMERY: Again, this is Claude              8     commenting on another actuarial firm's work.
 9     Montgomery. I would request that you respect any           9            He's here as a lay witness, but to ask him
10     mediation instructions in response to that question.      10     to form an opinion about appropriateness of another
11   A. We did not discuss 2014 valuation investment of return   11     actuarial's work I think goes beyond the scope of this
12     assumptions.                                              12     deposition.
13   BY MR. HOWELL:                                              13   BY MR. HOWELL:
14   Q. On the third page of this document, it's Bates-stamped   14   Q. You can answer the question, unless you're being
15     598717 at the bottom -- well, maybe I should, I'm         15     instructed not to answer.
16     sorry, I should probably take you back to the prior       16            MR. MUTH: Can you read it back, though?
17     page, where there's a paragraph that says: This           17            (The following portion of the record was
18     analysis was prepared using June 30, 2013, census data    18            read by the reporter at 1:45 p.m.:
19     provided by the retirement system and the actuarial       19            Q. "And do you have any opinion as to
20     assumptions, methods, and plan provisions used in         20            whether Segal Consulting's decision to use
21     Gabriel Roeder Smith's June 30, 2013, actuarial           21            unit credit cost method instead of entry
22     valuation report, except the following.                   22            age normal cost method for this frozen plan
23             And then it has a series of changes that          23            analysis was appropriate?")
24     they used as opposed to what Gabriel Roeder Smith had     24            MR. MUTH: You can answer if you have an
25     done. Do you see that?                                    25     opinion.

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